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          EXHIBIT 1
             to
        THIRD DEWEY
           DECL.
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                                                                        U.S. Department of Homeland Security
                                                                        Washington, DC 20528




                                                                        Homeland
                                                                        Security
                                                                        Privacy Office, Mail Stop 0655


                                        June 13, 2023

SENT VIA E-MAIL TO: oversightproject@heritage.org

Mike Howell
The Heritage Foundation
214 Massachusetts Ave, NE
Washington, DC 20002

Re: 2023-HQFO-01164

Dear Mr. Howell:

This is the final response to your Freedom of Information Act (FOIA) request to the Department
of Homeland Security (DHS) Privacy Office (PRIV) dated March 8, 2023, and received on the
same day. You requested the following:

 Section 1) All records within the Alien File (A-File) of Prince Henry Charles Albert David
(Date of Birth 09/15/1984) of the British Royal Family aka Prince Harry aka His Royal Highness
Prince Henry of Wales aka the Duke of Sussex, including but not limited to:
•Any and all applications for immigration benefits filed, whether or not adjudicated.
•Any and all Forms I-213
•Any and all Forms I-275
•Any and all Forms I-877

Section 2) All records pertaining to the Duke of Sussex in the following system of records
maintained by CBP and DHS
•Automated Targeting System (ATS, DHS/CBP-006)
•Advance Passenger Information System (APIS, DHS/CBP-005)
•Border Crossing Information System (BCIS, DHS/CBP-007)
•U.S. Customs and Border Protection TECS (DHS/CBP-011)
•Non-Federal Entity Data System (NEDS, DHS/CBP-008)
•DHS Use of the Terrorist Screening Database (TSDB) System of Records (DHS/ALL-030)
•CBP Intelligence Records System (CIRS, DHS/CBP-024)
•DHS Automated Biometric Identification System (IDENT, DHS/USVISIT-004)
•Electronic System for Travel Authorization (ESTA, DHS/CBP-009)
•Nonimmigrant Information System (NIIS, DHS/CBP-016)
•Arrival and Departure Information System (ADIS, DHS/CBP-021)
•Electric Visa Update System (EVUS., DHS/CBP-022).
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Section 3) All records relating to any requests for waiver pursuant to Section 212(d)(3) of the
Immigration and Nationality Act including, but not limited to, email communications within the
DHS Office of the Secretary, the USCIS Office of the Director, the CBP Office of the
Commissioner, or any subordinate office within those named departments or agency or a record
of any communication between any of those named entities and the U.S. Department of Stater,
the U.S. Embassy in London, the Federal Bureau of Investigation, or U.S. Immigration and
Customs Enforcement.

As Sections 1 and 2 of your requests do not fall under PRIV’s purview, by letter dated April 6,
2023, we informed you that we referred your request to the FOIA Officers for U.S Citizenship &
Immigration Services (USCIS) and Office of Biometric Identity Management (OBIM) for
processing under the FOIA and direct response to you. Additionally, by letter dated April 24,
2023, we informed you that we also referred your request to U.S. Customs and Border Protection
(CBP) for processing and direct response to you.

As it relates to Section 3 of your request, we can neither confirm nor deny the existence of any
records relating to your request under Section 3, pursuant to FOIA Exemptions (b)(6) and
(b)(7)(C). Exemption (b)(6) exempts from disclosure personnel or medical files and similar files
the release of which would cause a clearly unwarranted invasion of personal privacy. The
privacy interests of the individual in the records you have requested outweigh any minimal
public interest in disclosure of the information. Exemption (b)(7)(C) excludes records or
information compiled for law enforcement purposes, but only to the extent that the production of
such materials could reasonably be expected to constitute an unwarranted invasion of personal
privacy.

To the extent records exist, this office does not find a public interest in disclosure sufficient to
override the subject’s privacy interests. As such, to the extent that responsive records would be
maintained by DHS Headquarters’ offices on the subject individual, this office would deny your
request under FOIA Exemption (b)(6), 5 U.S.C. 552(b)(6), and the Privacy Act of 1974, 5 U.S.C.
552a.

Since this request is currently in active litigation, please notify the Assistant U.S. Attorney,
District of Columbia, John J. “Jack” Bardo, United States Attorney, 601 D Street, NW,
Washington, DC 20530 or by email at John.Bardo@usdoj.gov, if you have any questions.

                                               Sincerely,




                                               Jimmy Wolfrey
                                               Senior Director, FOIA Operations and Management
